         FIRST DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                         No. 1D2023-1623
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FINNA ANN CLAY, JACKIE DIANE
CLAY, FINNA ANN CLAY, as
Trustee of the Janie Mae Clay
Special Needs Trust dated
August 18, 2014, and LARRY
JEROME CLAY,

    Appellants,

    v.

SYNOVUS TRUST COMPANY, as
Trustee of the Teddie Clay a/k/a
Teddy Clay Revocable Trust
dated August 18, 2014,

    Appellee.
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On appeal from the Circuit Court for Escambia County.
W. Joel Boles, Judge.

                        August 21, 2024


PER CURIAM.

     Appellants seek review of an order granting summary
judgment in a probate case. Upon review, we conclude that we lack
jurisdiction. See Wade v. Dep’t of Child. &amp; Fams., 57 So. 3d 869,
870 (Fla. 1st DCA 2011) (reaffirming that appellate courts have an
independent duty “to examine our jurisdiction in every case even
if, as here, the issue was not raised”). The order sought to be
reviewed is not a final order. See Cardiothoracic &amp; Vascular
Surgery, P.A. v. W. Fla. Reg’l Med. Ctr., 993 So. 2d 1060, 1061 (Fla.
1st DCA 2008) (dismissing an appeal as premature because the
order merely grants a motion for summary judgment and “does not
contain sufficient language of finality to unequivocally bring an
end to the required judicial labor”); see also Cody v. Cody, 127 So.
3d 753, 756 (Fla. 1st DCA 2013) (holding that an order construing
a will and determining the testator’s intent was not a final order
for purposes of appeal because further judicial action was
contemplated regarding the legal description of land to be
distributed to the beneficiaries). Nor does the order fall within any
of the enumerated categories of appealable nonfinal orders under
Florida Rule of Appellate Procedure 9.130(3). Even if it were
reviewable under rule 9.130, then the appeal would be untimely
because it was not filed within thirty days of the order granting
summary judgment.

    DISMISSED.

ROBERTS, RAY, and KELSEY, JJ., concur.

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    Not final until disposition of any timely and
    authorized motion under Fla. R. App. P. 9.330 or
    9.331.
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Shiraz A. Hosein of Anchors Smith Grimsley, Fort Walton Beach,
for Appellants.

Brian W. Hoffman of Carver, Darden, Koretzky, Tessier, Finn,
Blossman &amp; Areaux, LLC, Pensacola, for Appellee.




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